                                        UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF ARIZONA

                                                       Minute Entry
Hearing Information:
                         Debtor:   THOMAS E. BLACK
                  Case Number:     4:16-BK-12086-BMW           Chapter: 7

          Date / Time / Room:      THURSDAY, DECEMBER 09, 2021 10:00 AM VIDEO CONF HRGS

         Bankruptcy Judge:         EDDWARD P. BALLINGER JR.
               Courtroom Clerk:    PRISCILLA GALBAN
                Reporter / ECR:    WESLEY STANGRET                                                              0.00


Matter:
              ADV: 4-17-00115
              MARGRET JANELLO vs THOMAS E BLACK
              CONTINUED ORDER TO SHOW CAUSE AS TO WHY THIS CASE HAS NOT BEEN RESOLVED
              R / M #:   150 / 0


Appearances:

        KEVIN J. BONNER, ATTORNEY FOR MARGRET JANELLO, PLAINTIFF
        THOMAS D LAUE, ATTORNEY FOR THOMAS E BLACK, DEBTOR
        MARGRET JANELLO, DEBTOR
Proceedings:                                                                                             1.00

        Mr. Laue notes that they have made the necessary modifications to the settlement agreement. He further
        notes that potentially there is a pending issue that could be resolved with Mr. Bonner.

        Mr. Bonner confirms and does not object to a continuance.

        COURT: IT IS ORDERED TO CONTINUE THIS MATTER VIA ZOOM ON DECEMBER 21, AT
        10:00 A.M. IT IS FURTHERED ORDER FOR PARTIES TO RESOLVE THE ISSUE AND SETTLE
        THIS MATTER. PARTIES MAY FILE A REQUEST TO VACATE THE DECEMBER 21, 2021
        HEARING UPON RESOLUTION.




        Parties to appear at the following video conference:

        <https://www.zoomgov.com/j/1612926046?pwd=aHNybXJpSkdiK3I5akZGeXlCUXUwQT09>

        Meeting ID: 161 292 6046
        Passcode: 249720




    Case 4:17-ap-00115-BMW                   Doc 156 Filed 12/09/21 Entered 12/10/21 13:30:02 Desc
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